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                                                                                   United States District Court
                                                                                     Southern District of Texas

                                                                                        ENTERED
                         IN THE UNITED STATES DISTRICT COURT                        September 12, 2023
                                                                                     Nathan Ochsner, Clerk
                             FOR THE SOUTHERN DISTRICT OF TEXAS

                                     HOUSTON DIVISION

Seth Batiste,                                   §
                                                §
                Plaintiff,                      §
V.                                              §
                                                §   Civil Action No. H-23-2451
Lone Star College System,                       §
                                                §
                Defendant.                      §

                                           ORDER

       Defendant, Lone Star College System, has filed a Motion to Dismiss (docket no. 7). The

motion seeks dismissal pursuant to Fed. R. Civ. P. 12(b)(6). The court's normal practice is to

allow only one dispositive motion per party, and the court sees no reason to make an exception in

this case. If Lone Star College System's motion to dismiss is denied, the court will therefore not

allow it to file a motion for summary judgment. If Lone Star College System wishes to withdraw

the motion to dismiss, the court will enter a docket control order that includes a date for motions

for summary judgment. The court requests that Lone Star College System inform the court of its

decision by September 15. 2023.

       SIGNED at Houston, Texas, on this 12th day of September, 2023.




                                                         SIM LAKE
                                             SENIOR UNITED STA TES DISTRICT JUDGE
